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                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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     UNITED STATES OF AMERICA,
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10                       Plaintiff,
                                                          CASE NO. CR04-549JLR
11         v.
                                                          ORDER
12   RODNEY ROMMAN,
13                       Defendant.
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16         This matter comes before the court upon Defendant’s Motion to Amend Judgment
17   (Dkt. # 594). The court concludes that Defendant has failed to show that his urinary tract
18
     and kidney function conditions cannot be adequately treated at the Federal Detention
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     Center at SeaTac. Therefore, Defendant’s motion is DENIED.
20
           Dated this 30th day of January, 2005.
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24                                            JAMES L. ROBART
                                              United States District Judge
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     ORDER
